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                 EXHIBIT 31
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RED BoaxtTM
          j for WindowsoD                                                                 Release: JULY, 1997

Manufacturers/Distributors of IPRATROPIUM BROMIDE                               I Or                  l
 Manufacturer                                   Product Name                                      Repackage
 ALLSCRIPS PHARMACEUTICAL INC.                  ATROVENT                                              Y
 BOEHRINGER INGELHEIM                           ATROVENT                                              N
 PHARMACEUTICALS,INC.
 CHESHIRE DRUGS                                 ATROVENT
 COMPUMED PHARMACEUTICALS, INC.                 ATROVENT
 COMPUMED PHARMACEUTICALS, INC.                 IPRATROPIUM BROMIDE
 DEY LABORATORIES                               IPRATROPIUM BROMIDE
 GALLIPOT, INC.                                 IPRATROPIUM BROMIDE
 MEDISCA INC.                                   IPRATROPIUM BROMIDE HYDROUS
 PHYSICIANS TOTAL CARE                          ATROVENT
 QUALITY CARE PHARMACEUTICALS, INC.             ATROVENT
 ROXANE LABORATORIES, INC.                      IPRATROPIUM BROMIDE




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                                                                                           H H DO51-0079           F
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                                                                                                                                               1
RED BOOK(TM) for Window                                                                                                     Release: JULY, 1997

NDC Product Listing
Product                        ManuflDist                     NDC              Form       Strength        Size         UD     AWP
ATROVENT                       Allscrips                      54569-1006-00    ARD        0.018 MGANH     14 gm               31.48

ATROVENT                       Allscrips                      545694420-00     SPR        0.03%a          30 ml               34.78

ATROVENT                       Allscrips                      545694421-00     SPR        0.06%           15 ml               29.81

ATROVENT                       Boehr Ingelheim                00597-0082-14    ARD        0.018 MGANH     14 gm               31.48


ATROVENT                       Boehr Ingelheim                00597-0082-18     ARO       0.018 MGANH     14 gm               28.79

ATROVENT                       Boehr Ingelheim                00597-0080-62     SOL       0.02%           2.5 ml 25s   u      51.432,

ATROVENT                       Boehr Ingelheim                00597-0081-30     SPR        0.03%          30 ml               34.78

ATROVENT                       Boehr Ingelheim                00597-0086-76     SPR        0.06%          15 ml               29.81

ATROVENT                       Cheshire                       55175-1382-01     ARD        0.018 MGIlNH   14 gm               39.85

ATROVENT                       Compumed                       00403-0645-18     SOL        0.02%          2.5 ml 25s          49.95

ATROVENT                       Phys Total Care                54868-1439-01     ARD        0.018 MGANH    14 gm                32.92

 ATROVENT                      Quality Care                   60346-0137-47     ARD        0.018 MGANH    14 gm                32.76

 IPRATROPIUM BROMIDE           Compumed                        00403-0229-18    SOL        0.02%          2.5 ml 25s           40.30

 IPRATROPIUM BROMIDE           Dey                             49502-0685-03    SOL        0.02%          2.5 ml 25s   u       44.10

 IPRATROPIUM BROMIDE           Dey                             49502-0685-60    SOL        0.02%          2.5 ml 60s   U      105.60           s -1 G?

 IPRATROPIUM BROMIDE           Gallipot                        51552-0393-01    POW                       1 gm                143.75

 IPRATROPIUM BROMIDE           Gallipot                        51552-0393-05    POW                       5gm                 546.25



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RED BOOK TM) for Windows                                                                                             Release: JULY, 1997
IPRATROPIUM BROMIDE             Roxane                         00054-8402-11     SOL        0.02%   2.5 ml 25s   U     44.06

IPRATROPIUM BROMIDE             Roxane                         00054-8402-13     SOL        0.02%   2.5 ml 30s   U     52.87       7
                                                                                                                               k

IPRATROPIUM BROMIDE             Medisca                        38779-0569-11     POW                1gm                90.00
HYDROUS
IPRATROPIUM BROMIDE             Medisca                        38779-0569-15     POW                5gm               405.00
HYDROUS
IPRATROPIUM BROMIDE             Medisca                        38779-0569-25     POW                25 gm            1822.50
HYDROUS
IPRATROPIUM BROMIDE             Medisca                        38779-0569-10     POW                100 gm           4500.00
HYDROUS




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